         Case 24-10110-amc                  Doc 2       Filed 01/15/24 Entered 01/15/24 12:28:13                            Desc Main
                                                        Document       Page 1 of 7
                                                               L.B.F. 3015.1

                                      UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re: Timothy Walters                                                        Case No.:
Andrea Walters                                                                Chapter 13
                                Debtor(s)

                                                                Chapter 13 Plan

   Original

         Amended

Date: January 15, 2024

                                               THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                CHAPTER 13 OF THE BANKRUPTCY CODE

                                                      YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A
WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4. This Plan may be confirmed and become binding,
unless a written objection is filed.

                                  IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                 MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                              NOTICE OF MEETING OF CREDITORS.


Part 1: Bankruptcy Rule 3015.1(c) Disclosures


                        Plan contains non-standard or additional provisions – see Part 9

                        Plan limits the amount of secured claim(s) based on value of collateral – see Part 4

                        Plan avoids a security interest or lien – see Part 4 and/or Part 9


Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE

    § 2(a) Plan payments (For Initial and Amended Plans):

         Total Length of Plan: 60 months.
         Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ 180,000.00
         Debtor shall pay the Trustee $ 3,000.00 per month for 60 months; and then
         Debtor shall pay the Trustee $       per month for the remaining       months.

                                                                          OR

         Debtor shall have already paid the Trustee $         through month number           and then shall pay the Trustee $    per month for the
         remaining          months.

        Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages (Describe source, amount and date
when funds are available, if known):

    § 2(c) Alternative treatment of secured claims:
            None. If “None” is checked, the rest of § 2(c) need not be completed.

                                                                                                                                       Page 1 of 7
          Case 24-10110-amc                   Doc 2       Filed 01/15/24 Entered 01/15/24 12:28:13                           Desc Main
                                                          Document      Page 2 of 7
Debtor           Timothy Walters                                                           Case number
                 Andrea Walters


             Sale of real property
          See § 7(c) below for detailed description

             Loan modification with respect to mortgage encumbering property:
          See § 4(f) below for detailed description

     § 2(d) Other information that may be important relating to the payment and length of Plan:



     § 2(e) Estimated Distribution

          A.      Total Priority Claims (Part 3)

                  1. Unpaid attorney’s fees                                            $                                    500.00

                  2. Unpaid attorney’s cost                                            $                                       0.00

                  3. Other priority claims (e.g., priority taxes)                      $                                 20,000.00

          B.      Total distribution to cure defaults (§ 4(b))                         $                                 10,000.00

          C.      Total distribution on secured claims (§§ 4(c) &(d))                  $                                       0.00

          D.      Total distribution on general unsecured claims (Part 5)              $                                131,500.00

                                                      Subtotal                         $                                162,000.00

          E.      Estimated Trustee’s Commission                                       $                                 18,000.00


          F.      Base Amount                                                          $                                180,000.00

     §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

             By checking this box, Debtor’s counsel certifies that the information contained in Counsel’s Disclosure of Compensation [Form
B2030] is accurate, qualifies counsel to receive compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve counsel’s
compensation in the total amount of $ 4000          with the Trustee distributing to counsel the amount stated in §2(e)A.1. of the Plan.
Confirmation of the plan shall constitute allowance of the requested compensation.

Part 3: Priority Claims

          § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                   Claim Number                 Type of Priority              Amount to be Paid by Trustee
Gary E. Thompson                                                        Attorney Fee                                                        $ 500.00
IRS                                        xxxxx3937                    11 U.S.C. 507(a)(8)                                              $ 20,000.00

          § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

                   None. If “None” is checked, the rest of § 3(b) need not be completed.

             The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
governmental unit and will be paid less than the full amount of the claim. This plan provision requires that payments in § 2(a) be for a term of 60
months; see 11 U.S.C. § 1322(a)(4).

Name of Creditor                                                    Claim Number                      Amount to be Paid by Trustee


Part 4: Secured Claims

                                                                            2
          Case 24-10110-amc                 Doc 2        Filed 01/15/24 Entered 01/15/24 12:28:13                              Desc Main
                                                         Document      Page 3 of 7
Debtor           Timothy Walters                                                            Case number
                 Andrea Walters


          § 4(a) ) Secured Claims Receiving No Distribution from the Trustee:

                   None. If “None” is checked, the rest of § 4(a) need not be completed.
Creditor                                                        Claim          Secured Property
                                                                Number
    If checked, the creditor(s) listed below will receive no
distribution from the trustee and the parties’ rights will be
governed by agreement of the parties and applicable
nonbankruptcy law.                                                                 2020 Jeep Cherokee 50000 miles
Bridgecrest Auto
    If checked, the creditor(s) listed below will receive no
distribution from the trustee and the parties’ rights will be
governed by agreement of the parties and applicable                                151 Hamilton Road Landenberg, PA 19350 Chester
nonbankruptcy law.                                                                 County
Keybank, NA
    If checked, the creditor(s) listed below will receive no
distribution from the trustee and the parties’ rights will be
governed by agreement of the parties and applicable
nonbankruptcy law.                                                                 2015 Chevrolet Traverse 70000 miles
Santander Consumer
          § 4(b) Curing default and maintaining payments

                   None. If “None” is checked, the rest of § 4(b) need not be completed.

         The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall pay directly to creditor
monthly obligations falling due after the bankruptcy filing in accordance with the parties' contract.

Creditor                               Claim Number                             Description of Secured Property     Amount to be Paid by Trustee
                                                                                and Address, if real property
M&T Bank                                                                        151 Hamilton Road                                          $10,000.00
                                                                                Landenberg, PA 19350
                                                                                Chester County

          § 4(c) Allowed Secured Claims to be paid in full: based on proof of claim or pre-confirmation determination of the amount, extent
or validity of the claim

                   None. If “None” is checked, the rest of § 4(c) need not be completed.
                  (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the plan.

                   (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to determine the amount, extent or
           validity of the allowed secured claim and the court will make its determination prior to the confirmation hearing.

                   (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general unsecured claim under Part 5
           of the Plan or (B) as a priority claim under Part 3, as determined by the court.

                    (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C. § 1325(a) (5) (B) (ii) will
           be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for “present value” interest
           in its proof of claim or otherwise disputes the amount provided for “present value” interest, the claimant must file an objection to
           confirmation.

                  (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and release the
           corresponding lien.

Name of Creditor      Claim Number          Description of        Allowed Secured        Present Value        Dollar Amount of      Amount to be
                                            Secured Property      Claim                  Interest Rate        Present Value         Paid by Trustee
                                                                                                              Interest


          § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506


                                                                            3
          Case 24-10110-amc                  Doc 2        Filed 01/15/24 Entered 01/15/24 12:28:13                              Desc Main
                                                          Document      Page 4 of 7
Debtor             Timothy Walters                                                          Case number
                   Andrea Walters

                     None. If “None” is checked, the rest of § 4(d) need not be completed.
                   The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase money security
           interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1 year of the petition date and secured by a
           purchase money security interest in any other thing of value.

                   (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the
           plan.

                   (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C. § 1325(a)(5)(B)(ii) will be
           paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for “present value” interest in
           its proof of claim, the court will determine the present value interest rate and amount at the confirmation hearing.

Name of Creditor       Claim Number          Description of        Allowed Secured       Present Value         Dollar Amount of       Amount to be
                                             Secured Property      Claim                 Interest Rate         Present Value          Paid by Trustee
                                                                                                               Interest


          § 4(e) Surrender

                    None. If “None” is checked, the rest of § 4(e) need not be completed.
                    (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
                    (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property terminates upon confirmation
                    of the Plan.
                    (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

Creditor                                                Claim Number                  Secured Property

          § 4(f) Loan Modification

             None. If “None” is checked, the rest of § 4(f) need not be completed.

           (1) Debtor shall pursue a loan modification directly with         or its successor in interest or its current servicer (“Mortgage Lender”), in
an effort to bring the loan current and resolve the secured arrearage claim.

         (2) During the modification application process, Debtor shall make adequate protection payments directly to Mortgage Lender in the
amount of         per month, which represents        (describe basis of adequate protection payment). Debtor shall remit the adequate protection
payments directly to the Mortgage Lender.

(3) If the modification is not approved by    (date), Debtor shall either (A) file an amended Plan to otherwise provide for the allowed claim of
the Mortgage Lender; or (B) Mortgage Lender may seek relief from the automatic stay with regard to the collateral and Debtor will not oppose it.

Part 5:General Unsecured Claims

          § 5(a) Separately classified allowed unsecured non-priority claims

                    None. If “None” is checked, the rest of § 5(a) need not be completed.


Creditor                       Claim Number                   Basis for Separate              Treatment                      Amount to be Paid by
                                                              Clarification                                                  Trustee


          § 5(b) Timely filed unsecured non-priority claims

                     (1) Liquidation Test (check one box)

                                  All Debtor(s) property is claimed as exempt.

                                  Debtor(s) has non-exempt property valued at $       for purposes of § 1325(a)(4) and plan provides for
                                  distribution of $     to allowed priority and unsecured general creditors.

                     (2) Funding: § 5(b) claims to be paid as follows (check one box):
                                                                             4
          Case 24-10110-amc                  Doc 2       Filed 01/15/24 Entered 01/15/24 12:28:13                              Desc Main
                                                         Document      Page 5 of 7
Debtor           Timothy Walters                                                            Case number
                 Andrea Walters


                                  Pro rata

                                  100%

                                  Other (Describe)


Part 6: Executory Contracts & Unexpired Leases

                    None. If “None” is checked, the rest of § 6 need not be completed.

Creditor                               Claim Number                             Nature of Contract or Lease         Treatment by Debtor Pursuant to
                                                                                                                    §365(b)


Part 7: Other Provisions

          § 7(a) General Principles Applicable to The Plan

          (1) Vesting of Property of the Estate (check one box)

                        Upon confirmation

                        Upon discharge

          (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its proof of claim controls over
any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

           (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B), (C) shall be disbursed
to the creditors by the debtor directly. All other disbursements to creditors shall be made to the Trustee.

          (4) If Debtor is successful in obtaining a recovery in personal injury or other litigation in which Debtor is the plaintiff, before the
completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a special Plan payment to the
extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor or the Trustee and approved by the court..

          § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence

          (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as provided for by
the terms of the underlying mortgage note.

           (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding the imposition
of late payment charges or other default-related fees and services based on the pre-petition default or default(s). Late charges may be assessed on
post-petition payments as provided by the terms of the mortgage and note.

          (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and the Debtor
provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume sending customary monthly statements.

           (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments prior to the
filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this case has been filed.

          (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

          § 7(c) Sale of Real Property

             None. If “None” is checked, the rest of § 7(c) need not be completed.

           (1) Closing for the sale of       (the “Real Property”) shall be completed within        months of the commencement of this bankruptcy
case (the “Sale Deadline”). Unless otherwise agreed, each secured creditor will be paid the full amount of their secured claims as reflected in § 4.b
(1) of the Plan at the closing (“Closing Date”).

                                                                            5
          Case 24-10110-amc                  Doc 2       Filed 01/15/24 Entered 01/15/24 12:28:13                              Desc Main
                                                         Document      Page 6 of 7
Debtor           Timothy Walters                                                            Case number
                 Andrea Walters


          (2) The Real Property will be marketed for sale in the following manner and on the following terms:


            (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all customary closing expenses and all
liens and encumbrances, including all § 4(b) claims, as may be necessary to convey good and marketable title to the purchaser. However, nothing in
this Plan shall preclude the Debtor from seeking court approval of the sale pursuant to 11 U.S.C. §363, either prior to or after confirmation of the
Plan, if, in the Debtor’s judgment, such approval is necessary or in order to convey insurable title or is otherwise reasonably necessary under the
circumstances to implement this Plan.

          (4) At the Closing, it is estimated that the amount of no less than $        shall be made payable to the Trustee.

          (5) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the Closing Date.

          (6) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale Deadline::


Part 8: Order of Distribution

          The order of distribution of Plan payments will be as follows:

          Level 1: Trustee Commissions*
          Level 2: Domestic Support Obligations
          Level 3: Adequate Protection Payments
          Level 4: Debtor’s attorney’s fees
          Level 5: Priority claims, pro rata
          Level 6: Secured claims, pro rata
          Level 7: Specially classified unsecured claims
          Level 8: General unsecured claims
          Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten (10) percent.

Part 9: Nonstandard or Additional Plan Provisions

Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of this Plan is checked.
Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

             None. If “None” is checked, the rest of Part 9 need not be completed.




Part 10: Signatures

          By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and consent to the terms of this Plan.

Date:    January 15, 2024                                                         /s/ Gary E. Thompson
                                                                                  Gary E. Thompson
                                                                                  Attorney for Debtor(s)



          If Debtor(s) are unrepresented, they must sign below.

Date:    January 15, 2024                                                         /s/ Timothy Walters
                                                                                  Timothy Walters
                                                                                  Debtor


                                                                            6
         Case 24-10110-amc       Doc 2   Filed 01/15/24 Entered 01/15/24 12:28:13   Desc Main
                                         Document      Page 7 of 7
Debtor         Timothy Walters                                    Case number
               Andrea Walters

Date:    January 15, 2024                               /s/ Andrea Walters
                                                        Andrea Walters
                                                        Joint Debtor




                                                    7
